QUAKER MAID, INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Quaker Maid, Inc. v. CommissionerDocket No. 11421.United States Board of Tax Appeals10 B.T.A. 301; 1928 BTA LEXIS 4140; January 27, 1928, Promulgated *4140 Attilla Cox, Esq., and E. J. Wells, Esq., for the petitioner.  M. N. Fisher, Esq., for the respondent.  LITTLETON*301  The Commissioner determined a deficiency of $2,929.37 for the calendar year 1921.  Petitioner claims that the Commissioner erred in reducing its earnings available for the payment of dividends in the year 1921 in the amount of $14,736.69, representing a tentative tax upon the income for the entire year prorated to the date of payment of the dividends.  FINDINGS OF FACT.  Petitioner is a Kentucky corporation with office at Louisville.  During the year 1921 the petitioner paid dividends of $8,325.01 on March 22, and $5,985 on May 21, $4,730 on June 25, $5,595 on October 1, and $5,595 on October 31.  In arriving at the available earnings for the dividend purposes, the Commissioner determined and deducted from the net income of the year a tentative income and profits tax of $14,736.69 and deducted said tentative tax in determining the current earnings available for the payment of the dividends in question, thereby resulting in the reduction of earned surplus.  *302  OPINION.  *4141  LITTLETON: The Board is of the opinion that the Commissioner was in error in reducing the earnings available for the payment of the dividends in question by the amount of the tentative income and profits tax computed upon the net income for the year prorated to the date of payment of the dividend.  Appeal of ; All . Judgment will be entered on 15 days' notice, under Rule 50.